Case 1:21-cv-03126-TOR        ECF No. 24   filed 04/06/22   PageID.227 Page 1 of 3




 1   Brian J. Waid
 2   Waid Law Office, PLLC
     5400 California Ave. SW, Suite D
 3   Seattle, Washington 98136
 4   Telephone: 206-388-1926
 5
 6         IN THE UNITED STATES DISTRICT COURT FOR THE
                 EASTERN DISTRICT OF WASHINGTON
 7

8     UNITED STATES OF AMERICA,                   CASE NO. 21-cv-03126-TOR
 9
          Plaintiff,
10                                              MOTION FOR LEAVE TO
11
                       vs.                      WITHDRAW FROM
                                                REPRESENTATION DUE TO
12    RICK GRAY and GRAY FARMS                  SUBSTITION OF COUNSEL
13    & CATTLE COMPANY, LLC,
                                                [LCivR 83.2(d)(3)]
14        Defendants.
15                                              Without Oral Argument
                                                April 28, 2022
16

           Movants BRIAN J. WAID and WAID LAW OFFICE, PLLC
18
     (hereinafter collectively "WAID") ask leave to withdraw from
19

20
     representation in this matter, as authorized by LCivR 83.2(d)(3), effective

21   immediately due to defendants' retention of replacement counsel.
22
           Brian Waid and Waid Law Office, PLLC entered a limited
23

24   appearance on behalf of defendants, to preserve the defendants' defenses

25
     Motion for Leave to Withdraw               WAID LAW OFFICE, PLLC
     Page 1 of 3
                                                5400 CALIFORNIA AVENUE SW, SUITE D
                                                SEATTLE, WA 98136
                                                206.388.1926
Case 1:21-cv-03126-TOR         ECF No. 24   filed 04/06/22   PageID.228 Page 2 of 3




 1
     while the defendants sought to retain defense counsel in this case. Dkt. 8.
2
     During their representation, Waid prepared defendants' Answer to the
3
4    Complaint [Dkt. 11] and successfully defended the Plaintiff's motion to
5    strike the Answer and enter a default judgment against the defendants.
6
     Dkt. 21. Waid also appeared on behalf of defendants at the perpetuation
 7
8    deposition of Al Bak and negotiated the Joint Discovery Plan with
9
     Plaintiff's counsel. Dkt. 18 1116-7 and Ex. B-C.
10
11          Defendants recently retained replacement counsel, Jennifer

12   Wellman and Skellenger Bender, P.S. Movants have therefore completed
13
     their limited engagement and ask leave to withdraw from representation of
14

15   the defendants, effective immediately, so as not to interfere with
16
     defendants' representation by replacement counsel.
17
            DATED: April 6, 2022.
18

19                                     WAID LAW OFFICE, PLLC
20
                                       BY:    /s/Brian J. Waid
21                                            BRIAN J. WAID
                                              WSBA No. 26038
22
                                              Withdrawing Attorney for
23                                            Defendants [Limited Engagement]
24

25
      Motion for Leave to Withdraw              WAID LAW OFFICE, PLLC
      Page 2 of 3
                                                5400 CALIFORNIA AVENUE SW, SUITE D
                                                SEATTLE, WA 98136
                                                206.388.1926
Case 1:21-cv-03126-TOR         ECF No. 24   filed 04/06/22   PageID.229 Page 3 of 3




 1

2
                              CERTIFICATE OF SERVICE
3

4           I hereby certify that on April 6, 2022, I served a copy of foregoing
     pleading on all counsel of record through their respective attorneys of
 5   record via the Court's ECF delivery system, as well as on Defendants
6    through Rick T. Gray, P.O. Box 1525, Prosser, WA 99350 via email.
 7
             Dated: April 6, 2022.
8
                                              WAID LAW OFFICE, PLLC
9

10                                            BY:     /s/ Brian J. Waid
11
                                                     BRIAN J. WAID
                                                     WSBA No. 26038
12                                                   Withdrawing Attorney for
13                                                   Defendants
                                                     [Limited Engagement]
14

15

16

17

18

19

20

21

92

23

24

25
      Motion for Leave to Withdraw               WAID LAW OFFICE, PLLC
      Page 3 of 3
                                                 5400 CALIFORNIA AVENUE SW, SUITE D
                                                 SEATTLE, WA 98136
                                                 206.388.1926
